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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF GEORGIA 2)|IMAR [2 PH 3:26
DUBLIN DIVISION
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UNITED STATES OF AMERICA *
*
Vv. * CR 309-009
*
NATHAN SMITH *
ORDER

On November 6, 2018, the Court revoked the term of supervised
release Defendant Nathan Smith had been serving. Defendant was
found to have committed eleven violations of the mandatory and
special conditions of release. Defendant was sentenced to serve
10 months for Violation One (the unlawful use of a controlled
substance) and 10 months for Violation Two (committing another
crime), to be served consecutively. (See Judgment & Commitment
Order of Nov. 13, 2018, Doc. 228.) Defendant appealed this
conviction, but the Eleventh Circuit Court of Appeals recently

dismissed the appeal for failure to prosecute. (Doc. 234.)

At present, Defendant moves this Court to correct or reduce
his sentence. Defendant contends that there is new evidence
establishing that he did not commit the crime of criminal trespass,
which is the basis of Violation Two. Defendant “strongly maintains
that every subsequent violation was fallout from the false charge.”

(Def.’'s Mot., Doc. 237, at 1.) Defendant attaches a state court

 
 

 

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order of Nolle Prosequi with respect to the March 25, 2018 charge
of criminal trespass in Glynn County, Georgia. More specifically,
after Defendant was sentenced in this Court, the prosecution
presented the Nolle Prosequi order to the state court in the
interest of “Judicial Economy” since “Defendant is serving a
FEDERAL prison term in the State of KENTUCKY and will not be
released FOR TWO YEARS.” (Id., Ex. 1 (emphasis in original) .)
Defendant asks the Court to resentence him in light of this “new

evidence.” (Id. at 2.)

In support of his motion, Defendant cites Federal Rule of
Criminal Procedure 35. With only three exceptions, a court may
not modify a sentence once it has been imposed. 18 U.S.C. 8

3582(c); see United States v. Frazier, 517 F. App’x 758, 759 (11%

 

Cir. 2013) (“Outside of § 3582, district courts do not possess
inherent authority to modify a sentence.” (cited source omitted)).
One of the exceptions references Rule 35. Rule 35 allows

modification upon an order from an appellate court, upon a motion
from the Government, or to correct an error in sentencing. Here,
there has not been an order from the appellate court or a motion
from the Government. Moreover, Rule 35(a) only allows a court to
correct a sentence that “resulted from arithmetical, technical, or

other clear error” within fourteen days after sentencing.

Defendant filed this motion on March 4, 2019, more than
fourteen days after he was sentenced. Rule 35(a)’s time limit is

jurisdictional. United States v. Phillips, 597 F.3d 1190, 1196

 
 

 

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(11t® Cir. 2010). Thus, this Court does not have authority to
provide the relief requested. Moreover, Rule 35 is limited to
challenges to the legality of the sentence itself and does not
apply to challenges to the validity of the underlying conviction.

United States v. Gatatolo, 361 F. App’x 29, 29 (11 Cir. 2010).

 

“Tllegal sentences include punishment that is in excess of that
prescribed by the relevant’ statutes, multiple terms of
imprisonment imposed for the same offense, or where terms of the
sentences are legally or constitutionally invalid.” Id. (cited
source omitted). Here, Defendant’s “new evidence” challenges the
validity of his conviction for violating a mandatory condition of
supervised release, i.e., refraining from committing another
crime. Rule 35(a) is not the proper vehicle for such a challenge.
Rather, a collateral attack on a conviction must be brought under

28 UeS«G. § 2255.

Upon the foregoing, Defendant’s motion to correct his
sentence under Rule 35(a) (doc. 237) is DENIED.
ORDER ENTERED at Augusta, Georgia, this olHh aay of March,

2019.

   
  
  
 

LL, G@HIEF JUDGE
UNITED STATES DISTRICT COURT
OUTHERN DISTRICT OF GEORGIA

 

 
